     Case 1:23-cr-00047-MHC-JEM Document 59 Filed 01/31/24 Page 1 of 17




               IN THE UNITED STATES BANKRUPTCY COURT
                    NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

   U NITED S TATES OF A MERICA
                                                Case No. 1:23-CR-047-MHC
   v.
   K RISTOPHER K NEUBUHLER


               NOTICE OF SERVICE OF RULE 45 SUBPOENA

      Pursuant to 28 U.S.C. § 3015(b) and Rules 26 and 45 of the Federal Rules of

Civil Procedure, the United States will serve a subpoena on Wells Fargo requiring

the production of specified documents.

      A copy of the attached subpoena will be served on Wells Fargo via overnight

mail as follows:

                   Wells Fargo Bank NA
                   c/o Corporation Service Company
                   40 Technology Parkway South, Suite 300,
                   Norcross GA 30092
    Case 1:23-cr-00047-MHC-JEM Document 59 Filed 01/31/24 Page 2 of 17




Dated: January 31, 2024.

                                       RYAN A. BUCHANAN
                                       UNITED STATES ATTORNEY

                                       /s/ Vivieon K. Jones
                                       Vivieon K. Jones
                                       Assistant U.S. Attorney
                                       Georgia Bar No. 143033
                                       75 Ted Turner Drive SW, Suite 600
                                       Atlanta, Georgia 30303
                                       Telephone: (404) 581-6312
                                       E-mail: vivieon.jones@usdoj.gov




                               Certificate of Service

       This is to certify that, on January 31, 2024, I have electronically filed the
 foregoing document using the Court’s CM/ECF system, which sent an
 electronic notice of filing with a link to the document to all parties of record.


                             /s/Vivieon Kelly Jones
Case 1:23-cr-00047-MHC-JEM Document 59 Filed 01/31/24 Page 3 of 17
Case 1:23-cr-00047-MHC-JEM Document 59 Filed 01/31/24 Page 4 of 17
                   Case 1:23-cr-00047-MHC-JEM Document 59 Filed 01/31/24 Page 5 of 17
 AO 88B (Rev. 06/09) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)




                                Federal Rule of Civil Procedure 45 (c), (d), and (e) (Effective 12/1/07)
(c) Protecting a Person Subject to a Subpoena.                                    (d) Duties in Responding to a Subpoena.
  (1) Avoiding Undue Burden or Expense; Sanctions. A party or                      (1) Producing Documents or Electronically Stored Information.
attorney responsible for issuing and serving a subpoena must take                 These procedures apply to producing documents or electronically
reasonable steps to avoid imposing undue burden or expense on a                   stored information:
person subject to the subpoena. The issuing court must enforce this                  (A) Documents. A person responding to a subpoena to produce
duty and impose an appropriate sanction — which may include lost                  documents must produce them as they are kept in the ordinary
earnings and reasonable attorney’s fees — on a party or attorney                  course of business or must organize and label them to correspond to
who fails to comply.                                                              the categories in the demand.
   (2) Command to Produce Materials or Permit Inspection.                            (B) Form for Producing Electronically Stored Information Not
   (A) Appearance Not Required. A person commanded to produce                     Specified. If a subpoena does not specify a form for producing
documents, electronically stored information, or tangible things, or              electronically stored information, the person responding must
to permit the inspection of premises, need not appear in person at the            produce it in a form or forms in which it is ordinarily maintained or
place of production or inspection unless also commanded to appear                 in a reasonably usable form or forms.
for a deposition, hearing, or trial.                                                 (C) Electronically Stored Information Produced in Only One
   (B) Objections. A person commanded to produce documents or                     Form. The person responding need not produce the same
tangible things or to permit inspection may serve on the party or                 electronically stored information in more than one form.
attorney designated in the subpoena a written objection to                           (D) Inaccessible Electronically Stored Information. The person
inspecting, copying, testing or sampling any or all of the materials or           responding need not provide discovery of electronically stored
to inspecting the premises — or to producing electronically stored                information from sources that the person identifies as not reasonably
information in the form or forms requested. The objection must be                 accessible because of undue burden or cost. On motion to compel
served before the earlier of the time specified for compliance or 14              discovery or for a protective order, the person responding must show
days after the subpoena is served. If an objection is made, the                   that the information is not reasonably accessible because of undue
following rules apply:                                                            burden or cost. If that showing is made, the court may nonetheless
     (i) At any time, on notice to the commanded person, the serving              order discovery from such sources if the requesting party shows
party may move the issuing court for an order compelling production               good cause, considering the limitations of Rule 26(b)(2)(C). The
or inspection.                                                                    court may specify conditions for the discovery.
     (ii) These acts may be required only as directed in the order, and            (2) Claiming Privilege or Protection.
the order must protect a person who is neither a party nor a party’s               (A) Information Withheld. A person withholding subpoenaed
officer from significant expense resulting from compliance.                       information under a claim that it is privileged or subject to
  (3) Quashing or Modifying a Subpoena.                                           protection as trial-preparation material must:
   (A) When Required. On timely motion, the issuing court must                       (i) expressly make the claim; and
quash or modify a subpoena that:                                                     (ii) describe the nature of the withheld documents,
     (i) fails to allow a reasonable time to comply;                              communications, or tangible things in a manner that, without
     (ii) requires a person who is neither a party nor a party’s officer          revealing information itself privileged or protected, will enable the
to travel more than 100 miles from where that person resides, is                  parties to assess the claim.
employed, or regularly transacts business in person — except that,                 (B) Information Produced. If information produced in response to a
subject to Rule 45(c)(3)(B)(iii), the person may be commanded to                  subpoena is subject to a claim of privilege or of protection as trial-
attend a trial by traveling from any such place within the state where            preparation material, the person making the claim may notify any
the trial is held;                                                                party that received the information of the claim and the basis for it.
     (iii) requires disclosure of privileged or other protected matter, if        After being notified, a party must promptly return, sequester, or
no exception or waiver applies; or                                                destroy the specified information and any copies it has; must not use
     (iv) subjects a person to undue burden.                                      or disclose the information until the claim is resolved; must take
   (B) When Permitted. To protect a person subject to or affected by              reasonable steps to retrieve the information if the party disclosed it
a subpoena, the issuing court may, on motion, quash or modify the                 before being notified; and may promptly present the information to
subpoena if it requires:                                                          the court under seal for a determination of the claim. The person
     (i) disclosing a trade secret or other confidential research,                who produced the information must preserve the information until
development, or commercial information;                                           the claim is resolved.
     (ii) disclosing an unretained expert’s opinion or information that
does not describe specific occurrences in dispute and results from                (e) Contempt. The issuing court may hold in contempt a person
the expert’s study that was not requested by a party; or                          who, having been served, fails without adequate excuse to obey the
     (iii) a person who is neither a party nor a party’s officer to incur         subpoena. A nonparty’s failure to obey must be excused if the
substantial expense to travel more than 100 miles to attend trial.                subpoena purports to require the nonparty to attend or produce at a
   (C) Specifying Conditions as an Alternative. In the circumstances              place outside the limits of Rule 45(c)(3)(A)(ii).
described in Rule 45(c)(3)(B), the court may, instead of quashing or
modifying a subpoena, order appearance or production under
specified conditions if the serving party:
     (i) shows a substantial need for the testimony or material that
cannot be otherwise met without undue hardship; and
     (ii) ensures that the subpoenaed person will be reasonably
compensated.
     Case 1:23-cr-00047-MHC-JEM Document 59 Filed 01/31/24 Page 6 of 17




                                    NOTICE

   The accompanying subpoena requires the production by your institution of
the records listed thereon on or before the specified date and in the manner
prescribed by the subpoena.

   Pursuant to the Right to Financial Privacy Act, Title 12, United States Code,
Section 3415, financial institutions may NOT be reimbursed for "records obtained
pursuant to section ...3413(a) through (h) of this title." Section 3413(e) reads,
"Disclosure pursuant to Federal Rules of Criminal Procedure or other
comparable rules of other courts. Nothing in this chapter shall apply when
financial records are sought by a Government authority under the Federal Rules
of Civil or Criminal Procedure or comparable rules of other courts in connection
with litigation to which the Government authority and the customer are parties."

   The general principle is that 'there is a public obligation to provide evidence
and that this obligation persists no matter how financially burdensome it may be.
(Hurtado v. United States, 410 U.S. 578, 589 (1973)). Therefore, you will not be
reimbursed for costs associated with production of the requested documents.



                                     By: Vivieon K. Jones
                                     Assistant U.S. Attorney
     Case 1:23-cr-00047-MHC-JEM Document 59 Filed 01/31/24 Page 7 of 17

Exhibit A – Wells Fargo Bank NA




                                    EXHIBIT A

                                  DEFINITIONS

       1. “Document” shall have the same definition and scope as the terms
“documents,” “electronically stored information,” and “tangible things” in
Federal Rule of Civil Procedure 34(a) and “financial record” within the meaning
of 12 U.S.C. § 3401(2).

       2. “Bank” or “you” shall mean the witness, here: Wells Fargo Bank NA or
its agent, attorney, representative, subsidiary, or affiliate.

      3. “Account” shall mean any account at your financial institution,
regardless of type (i.e., loan, mortgage, line of credit, deposit, checking, savings,
investment, time deposit, brokerage, retirement, IRA, 401(k), or other qualified
tax-deferred vehicle), for which the following persons or entities are account
parties, signatories, or beneficiaries or otherwise identified as follows:
           a. Any account in the name of, or for the benefit of, Kristopher
              Kneubuhler (SSN:                    (“Account Party”) or for which
              Kristopher Kneubuhler has signatory authority.
           b. Any account in the name of, or for the benefit of, Harmonic Homes
              LLC

                                 INSTRUCTIONS

      1. For purposes of this subpoena or document request, the United States of
America will accept production of electronic or hard copies of responsive
documents in lieu of a personal appearance or submitting original for inspection
and copying.

      2. Except as otherwise permitted by law, production of responsive
documents must be made in full, without abbreviation, redaction, or expurgation,
and must include all attachments, appendices, exhibits, cover sheets, or facsimile
transmission sheets.

      3. Documents shall be organized and labeled to correspond with the
categories set forth in this subpoena or document request.
     Case 1:23-cr-00047-MHC-JEM Document 59 Filed 01/31/24 Page 8 of 17

Exhibit A – Wells Fargo Bank NA




       4. If any responsive document is to be withheld or redacted on the basis of
a claim of privilege or work product, your response must provide the information
required by Federal Rule of Civil Procedure 26(b)(5)(A)(i) and (ii).

       5. For all materials produced in response to this subpoena or document
requests, please provide an affidavit attesting to the authenticity and business
records nature of any document, item, or thing to which you have the capacity of
so attesting.

      6. To the extent the Bank requires any additional identifying information,
please contact the attorney or unit identified in the subpoena.

      7. Unless specifically stated otherwise, all categories of document requests
seek documents created during, or reflecting account activity for, the period
beginning with January 1, 2023, through and including the date of complete
production in response, including any period of time production is delayed due
to any objection or motion to quash, stay, or limit the scope of this subpoena or
document request.
                           DOCUMENT REQUESTS

      1. For each Account, as defined above, a true and correct copy of all:
         a. Periodic account statements;
         b. Deposit or withdrawal slips;
         c. Funds transfer requests, whether such request is by form, e-mail, or
            in writing and whether such funds transfer is electronically, by wire,
            ACH payment, EFT, or similar method;
         d. Funds transfer receipts or confirmations;
         e. Check images, front and back;
         f. SWIFT MT102, Fedwire, or similar payment messages regarding any
            funds transfer, whether originated by or received into any Account;
         g. Official or cashier’s checks (front and back) and money orders either
            issued or presented for payment by you;
         h. Signature cards;
         i. Documents regarding Know-Your-Customer information;
         j. Account opening Documents;
         k. Certificate of Deposit and money market certificates and accounts;
    Case 1:23-cr-00047-MHC-JEM Document 59 Filed 01/31/24 Page 9 of 17

Exhibit A – Wells Fargo Bank NA




        l. Credit card monthly statements;
        m. Loan files including applications;
        n. Cancelled checks;
        o. Safe Deposit Box Lease Agreement;
        p. Safe Deposit Entry Records;
        q. Payments for credit cards, mortgage loans, or any other accounts
           responsive to this subpoena. The responsive documents must include
           the account number and ABA routing number of the financial
           institution(s) where the payment(s) originated.
        r. Individual Retirement Accounts;

      2. Other than internal correspondence, all electronic or hard-copy
correspondence between Bank and an Account party, or a third-party, regarding
any Account.

     3. All loan applications and supporting documents, loan agreements, and
promissory notes submitted or executed by Kristopher Kneubuhler
     Case 1:23-cr-00047-MHC-JEM Document 59 Filed 01/31/24 Page 10 of 17



UNITED STATES DEPARTMENT OF JUSTICE
Washington, D.C. 20530

                                           CUSTOMER NOTICE

Dear Julia Sims:

Records or information concerning your transactions held by the financial institution named in the
attached subpoena are being sought by the United States Department of Education (Government Agency)
in accordance with the Right To Financial Privacy Act of 1978, 12 U.S.C. Secs. 34O1-3422, for the following
purpose(s):

        To evaluate Kristopher Kneubuhler’s financial condition and his ability to satisfy criminal monetary
        penalties in United States v. Kristopher Kneubuhler, a criminal action pending in the United States
        District Court for the Northern District of Georgia.

If you desire that such records or information not be made available, you must:

    1. Fill out the accompanying motion paper and sworn statement (as indicated by the instructions
       beneath each blank space) or write one of your own, stating that you are the customer whose
       records are being requested by the Government, and either giving the reasons you believe that
       the records are not relevant to the legitimate law enforcement inquiry stated in this notice or any
       other legal basis for objecting to the release of the records.

    2. File the motion and sworn statement by mailing or delivering them to the Clerk of the United
       States Bankruptcy Court at the following address: United States Bankruptcy Court, 75 Ted Turner
       Drive, SW, Atlanta, GA 30303 (It would simplify the proceeding if you would include with your
       motion and sworn statement a copy of the attached subpoena or formal written request, as well
       as a copy of this notice.)

    3. Serve the Government authority requesting the records by mailing (by registered or certified mail)
       or by delivering a copy of your motion and sworn statement to: Vivieon K. Jones, Assistant United
       States Attorney, Financial Litigation Program, 75 Ted Turner Drive, SW, Suite 600, Atlanta, GA
       30303

    4. Be prepared to come to court and present your position in further detail.

    5. You do not need to have a lawyer, although you may wish to employ one to represent you and
       protect your rights.

If you do not follow the above procedures, upon the expiration of ten days from the date of service or
fourteen days from the date of mailing of this notice, the records or information requested therein may
be made available. These records may be transferred to other Government authorities for legitimate law
enforcement inquiries, in which event you will be notified after the transfer.

Very truly yours,



Vivieon K. Jones, Assistant United States Attorney
     Case 1:23-cr-00047-MHC-JEM Document 59 Filed 01/31/24 Page 11 of 17



United States Attorney’s Office for the Northern District of Georgia
600 Russell Federal Building
75 Ted Turner Drive, SW
Atlanta, GA 30303
(404) 581-6312 – Phone

Date: January 31, 2024

Enclosures:

Subpoena, Motion Form, Sworn Statement Form
The Right To Financial Privacy Act, 12 U.S.C. Secs. 3401-3422
     Case 1:23-cr-00047-MHC-JEM Document 59 Filed 01/31/24 Page 12 of 17



UNITED STATES DEPARTMENT OF JUSTICE
Washington, D.C. 20530

                                           CUSTOMER NOTICE

Dear Kristopher Kneubuhler:

Records or information concerning your transactions held by the financial institution named in the
attached subpoena are being sought by the United States Department of Education (Government Agency)
in accordance with the Right To Financial Privacy Act of 1978, 12 U.S.C. Secs. 34O1-3422, for the following
purpose(s):

        To evaluate your financial condition and your ability to satisfy criminal monetary penalties in
        United States v. Kristopher Kneubuhler, a criminal action pending in the United States District
        Court for the Northern District of Georgia.

If you desire that such records or information not be made available, you must:

    1. Fill out the accompanying motion paper and sworn statement (as indicated by the instructions
       beneath each blank space) or write one of your own, stating that you are the customer whose
       records are being requested by the Government, and either giving the reasons you believe that
       the records are not relevant to the legitimate law enforcement inquiry stated in this notice or any
       other legal basis for objecting to the release of the records.

    2. File the motion and sworn statement by mailing or delivering them to the Clerk of the United
       States Bankruptcy Court at the following address: United States Bankruptcy Court, 75 Ted Turner
       Drive, SW, Atlanta, GA 30303 (It would simplify the proceeding if you would include with your
       motion and sworn statement a copy of the attached subpoena or formal written request, as well
       as a copy of this notice.)

    3. Serve the Government authority requesting the records by mailing (by registered or certified mail)
       or by delivering a copy of your motion and sworn statement to: Vivieon K. Jones, Assistant United
       States Attorney, Financial Litigation Program, 75 Ted Turner Drive, SW, Suite 600, Atlanta, GA
       30303

    4. Be prepared to come to court and present your position in further detail.

    5. You do not need to have a lawyer, although you may wish to employ one to represent you and
       protect your rights.

If you do not follow the above procedures, upon the expiration of ten days from the date of service or
fourteen days from the date of mailing of this notice, the records or information requested therein may
be made available. These records may be transferred to other Government authorities for legitimate law
enforcement inquiries, in which event you will be notified after the transfer.

Very truly yours,



Vivieon K. Jones, Assistant United States Attorney
     Case 1:23-cr-00047-MHC-JEM Document 59 Filed 01/31/24 Page 13 of 17



United States Attorney’s Office for the Northern District of Georgia
600 Russell Federal Building
75 Ted Turner Drive, SW
Atlanta, GA 30303
(404) 581-6312 – Phone

Date: January 31, 2024

Enclosures:

Subpoena, Motion Form, Sworn Statement Form
The Right To Financial Privacy Act, 12 U.S.C. Secs. 3401-3422
    Case 1:23-cr-00047-MHC-JEM Document 59 Filed 01/31/24 Page 14 of 17




                      UNITED STATES BANKRUPTCY COURT
                       NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION

   U NITED S TATES OF A MERICA
                                                    Case No. 1:23-CR-047-MHC
   v.
   K RISTOPHER K NEUBUHLER


    MOTION FOR ORDER PURSUANT TO CUSTOMER CHALLENGE
   PROVISIONS OF THE RIGHT TO FINANCIAL PRIVACY ACT of 1978

                                        hereby moves this Court, pursuant to
        (Your Name)

Section 1110 of the Right To Financial Privacy Act of 1978, 12 U.S.C. Sec. 3410, for
an order preventing the government from obtaining access to my financial
records. The agency seeking access is the Department of Education.


My financial records are held by                                         .
                                      (Name of Financial Institution)




In support of this motion, the Court is respectfully referred to my sworn
statement filed with this motion.
        Respectfully submitted,

                                       (Your signature)




                                       (Your Name)




                                       (Your Address)




                                       (Your Telephone #)


                                          1
    Case 1:23-cr-00047-MHC-JEM Document 59 Filed 01/31/24 Page 15 of 17




                               CERTIFICATE OF SERVICE
      I have mailed or delivered a copy of this motion and the attached sworn
statement to Vivieon K. Jones, Assistant United States Attorney, 75 Ted Turner
Drive, SW, Suite 600, Atlanta, GA 30303 on                             , 2024.
                                                   (Date)




            (Your Signature)




                                         2
     Case 1:23-cr-00047-MHC-JEM Document 59 Filed 01/31/24 Page 16 of 17




                        UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION

   U NITED S TATES OF A MERICA
                                                           Case No. 1:23-CR-047-MHC
   v.
   K RISTOPHER K NEUBUHLER


                                SWORN STATEMENT OF MOVANT
        I, _______________________________, (am presently/was previously)
                     (Customer's Name)                           (Indicate One)

a customer of ______________________________________________________
                                           (Name of Financial Institution)

and I am the customer whose records are being requested by the Government.


        The financial records sought by ____________________________________
                                                      (Name of Government Agency)

are not relevant to the legitimate law enforcement inquiry stated in the Customer Notice that
was sent to me because:




or should not be disclosed because there has not been substantial compliance with the Right To
Financial Privacy Act of 1978 in that:




or should not be disclosed on the following other legal basis: ____________________________




____________________________________________________________________.




                                               1
     Case 1:23-cr-00047-MHC-JEM Document 59 Filed 01/31/24 Page 17 of 17




I declare under penalty of perjury that the foregoing is true and correct.
__________ ____, 2024.
       (Date)




________________________________
       (Your Signature)




                                                2
